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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


         MAXWELL KADEL, et al.,

                            Plaintiffs-Appellees,

                            v.                              Nos. 22-1721 (L); 22-1730 (Cons.)

         DALE FOLWELL, et al.,

                            Defendants-Appellants,

                            and

         NORTH CAROLINA STATE HEALTH
         PLAN FOR TEACHERS AND STATE
         EMPLOYEES; STATE OF NORTH
         CAROLINA DEPARTMENT OF PUBLIC
         SAFETY,

                            Defendants.



          PLAINTIFFS-APPELLEES’ RESPONSE TO NOTICE OF INTENT TO
              CORRECT MEMORANDUM OPINION AND ORDER AND
             MOTION TO CONSOLIDATE AND FOR LIMITED REMAND

              In accordance with the Court’s July 19, 2022 order (Dkt. 17), Plaintiffs-

        Appellees hereby submit the following response to Defendants-Appellants’ Notice

        of Intent to Correct Memorandum Opinion and Order and Motion to Consolidate

        and for Limited Remand (Dkt. 16, “Motion”):

              Appellants’ Motion requests that this Court “deconsolidate Appeal No. 22-
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        1730 from Appeal No. 22-1721 and then remand 22-1730 to the district court for

        the limited purpose of correcting portions of its Memorandum Opinion and Order,

        as explained in its Notice of Intent to Correct and Clarify Memorandum Opinion

        and Order.” (Id. at 22, citing Dkt. 255.) Appellants also clarify that it “is fully

        expected that upon correction and clarification of the Memorandum Opinion and

        Order (Doc. No. 234), Appellant State Health Plan will be positioned to then move

        this Court to dismiss its interlocutory appeal pursuant to Federal Rule of Appellate

        Procedure 42(b).” (Id.) Based on Appellants’ representations, Appellees do not

        oppose the relief sought.


        Dated: July 22, 2022                        Respectfully submitted,


        /s/ Tara L. Borelli         .                  Amy E. Richardson
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        [Signature block continues below.]
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                                    CERTIFICATE OF SERVICE

              I hereby certify that I electronically filed the foregoing document with the

        Clerk of the Court using the CM/ECF system which will provide electronic

        notification to all counsel of record in this matter.

        Dated: July 22, 2022                            /s/ Tara L. Borelli      .
                                                        Tara L. Borelli
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